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                              UNITED STATES DISTRICT COURT
 1
                             NORTHERN DISTRICT OF CALIFORNIA
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       VIKRAM VALAME,
 3                                                        CASE NO. 5:23-cv-3018 NC
                                    Plaintiff,
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                                                          [PROPOSED] ORDER GRANTING
 5                           v.                           LEAVE TO FILE REPLY TO
                                                          DEFENDANTS’ RESPONE TO
 6     JOSEPH R. BIDEN, President of the United           PLAINTIFF’S AMENDED
 7     States, et. al.,                                   COMPLAINT

 8                                  Defendants.
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            Upon consideration of Plaintiff’s motion for leave to file a reply submitted January 15,
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     2024, and for good cause shown, the Court hereby
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            ORDERS that Plaintiff may file a reply to Defendants’ response to Plaintiff’s Amended
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     complaint, not to exceed 5 pages, by January 22, 2024.
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            IT IS SO ORDERED
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19    DATED: __________________, 2024                   ______________________________
                                                        NATHANAEL COUSINS
20                                                      United States Magistrate Judge
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